                                                                               Case 3:07-cv-05944-JST Document 352 Filed 08/15/08 Page 1 of 2



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                                                                                                    UNITED STATES DISTRICT COURT
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                                                                                                  NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   In Re: Cathode Ray Tube (CRT)      )         MDL No.    1917
                                                                              Antitrust Litigation               )
                               For the Northern District of California




                                                                         11                                      )         Case No. 07-5944 SC
United States District Court




                                                                              ___________________________________)
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                                                                              CRAGO, Inc.,                       )         ORDER CONTINUING
                                                                         13                                      )         HEARING DATE
                                                                                        Plaintiff,               )
                                                                         14                                      )
                                                                                  v.                             )
                                                                         15                                      )
                                                                              CHUNGHWA PICTURE TUBES, LTD., et   )
                                                                         16   al.,                               )
                                                                                                                 )
                                                                         17             Defendants.              )
                                                                                                                 )
                                                                         18                                      )
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                                                                         20         Pursuant to a request by the Special Master, the Court hereby
                                                                         21   continues the hearing date for the Government's Motion to Stay,
                                                                         22   Docket No. 323, currently scheduled for Friday, September 5, 2008.
                                                                         23   The hearing is continued until Friday, September 19, 2008, at
                                                                         24   10:00 a.m. in Courtroom # 1 on the 17th floor.          This change does
                                                                         25   not extend the briefing schedule.
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                                                                          1        The continuation on the hearing for the Government's Motion
                                                                          2   does not affect the hearing on the Indirect Plaintiff's Motion to
                                                                          3   Authorize Service on Certain Foreign Defendants.          Docket No. 344.
                                                                          4   This hearing will still be held on September 5, 2008, at 10:00
                                                                          5   a.m., as previously scheduled.
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                                                                          8        IT IS SO ORDERED.
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                                                                         10        Dated: August 15, 2008
                               For the Northern District of California




                                                                         11
United States District Court




                                                                         12                                             UNITED STATES DISTRICT JUDGE
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